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                              No. 23-50885
      _______________________________________________________________

          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                     ________________________

 UNITED STATES OF AMERICA; OCA-GREATER HOUSTON, LEAGUE OF
           WOMEN VOTERS OF TEXAS; REVUP-TEXAS,
                                     Plaintiffs-Appellees,
                             v.
KEN PAXTON, ATTORNEY GENERAL, STATE OF TEXAS; JANE NELSON, IN
 HER OFFICIAL CAPACITY AS TEXAS SECRETARY OF STATE; STATE OF
   TEXAS; REPUBLICAN NATIONAL COMMITTEE; HARRIS COUNTY
REPUBLICAN PARTY; DALLAS COUNTY REPUBLICAN PARTY; NATIONAL
  REPUBLICAN SENATORIAL COMMITTEE; NATIONAL REPUBLICAN
                 CONGRESSIONAL COMMITTEE,
                                   Defendants-Appellants.
                     ________________________

On Appeal from the United States District Court for the Western
            District of Texas, San Antonio Division
                      ________________________

          INTERVENOR-APPELLANTS’ OPENING BRIEF
                   ________________________
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                       CERTIFICATE OF INTERESTED PERSONS

 No. 23-50885, United States of America, et al. v. Warren Kenneth Paxton,
                                  et al.

      The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Fifth Circuit Local

Rule 28.2.1 have an interest in the outcome of this case. These representations

are   made        in     order   that    the    judges    of   this    Court      may

evaluate possible disqualification or recusal.

      1.       Defendants-Appellants:

           x Ken Paxton, Attorney General, State of Texas
           x Jane Nelson, in her official capacity as Texas Secretary of State
           x State of Texas

      2.       Counsel for Defendants-Appellants:

           x   Aaron Lloyd Nielson
           x   William Francis Cole
           x   Kathleen Theresa Hunker
           x   Kateland R. Jackson
           x   Ryan Glen Kercher
           x   Lanora Christine Pettit
           x   William D. Wassdorf

      3.       Intervenors-Appellants:

           x Harris County Republican Party
           x Dallas County Republican Party
           x Republican National Committee

           x National Republican Senatorial Committee
           x National Republican Congressional Committee
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4.       Counsel for Intervenors-Appellants:

     x   John M. Gore
     x   E. Stewart Crosland
     x   Louis J. Capozzi III
     x   Ryan M. Proctor
     x   Jones Day

5.       Defendants Not Party to this Appeal:

     x Gregory W. Abbott, in his official capacity as Governor of Texas
     x Jose A. Esparza, in his official capacity as Deputy Secretary of the
       State of Texas
     x Lupe C. Torres, in her official capacity as Medina County Elections
       Administrator
     x Lisa Wise, in her official capacity as the El Paso County Elections
       Administrator
     x Kim Ogg, Harris County District Attorney
     x Joe Gonzales, Bexar County District Attorney
     x Jose Garza, Travis County District Attorney
     x John Creuzot, Dallas County District Attorney
     x Ricardo Rodriguez, Jr.
     x Yvonne Rosales, in her official capacity as El Paso County District
       Attorney
     x Rebecca Guerrero
     x Teneshia Hudspeth, Harris County Clerk, in her official capacity
     x Dyana Limon-Mercado
     x Isabel Longoria, Harris County Elections Administrator
     x Jacque Callanen, in her official capacity as Elections Administrator
       of Bexar County
     x Yvonne Ramon, in her official capacity as the Hidalgo County
       Elections Administrator
     x Michael Scarpello, in his official capacity as the Dallas County
       Elections Administrator
     x Dana DeBeauvoir, in her official capacity as the Travis County
       Clerk

6.       Plaintiffs-Appellees:
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          x   United States of America
          x   OCA-Greater Houston
          x   League of Women Voters of Texas
          x   REVUP-Texas

     7.       Counsel for Plaintiff-Appellee United States of America:

          x Jason Lee
          x Tovah Calderon
          x Daniel Joshua Freeman

     8.       Counsel for Plaintiffs-Appellees OCA-Greater Houston, League of

Women Voters of Texas, and REVUP-Texas:

          x   Hani Mirza
          x   Alyssa G. Bernsein
          x   Dayton Campbell-Harris
          x   Adriel I. Cepeda Derieux
          x   Brian Dimmick
          x   Zachary Dolling
          x   Sophia Lin Lakin
          x   Christopher McGreal
          x   Ari Savitzky
          x   Andre Segura
          x   Jenner & Block, L.L.P.
          x   American Civil Liberties Union Foundation
          x   American Civil Liberties Union
          x   American Civil Liberties Union of Texas
          x   Texas Civil Rights Project
     9.       Plaintiffs Not Party to the Appeal:

          x   Mi Familia Vota
          x   Marlon Lopez
          x   Marla Lopez
          x   Paul Rutledge
          x   Houston Area Urban League
          x   Delta Sigma Theta

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       x   Arc of Texas
       x   Jeffrey Clemmons
       x   La Union del Pueblo Entero
       x   Friendship-West Baptist Church
       x   Anti-Defamation League Austin, Southwest, and Texoma Regions
       x   Southwest Voter Registration Education Project
       x   Texas Impact
       x   Mexican American Bar Association of Texas
       x   Texas Hispanics Organized for Political Education
       x   Jolt Action
       x   William C. Velasquez Institute
       x   FIEL Houston Inc.
       x   James Lewin
       x   LULAC Texas
       x   Voto Latino
       x   Texas Alliance for Retired Americans
       x   Texas AFT


Dated: June 12, 2024               Respectfully submitted,

                                   /s/ John M. Gore

                                   Counsel of Record for Intervenors-
                                   Appellants




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                STATEMENT REGARDING ORAL ARGUMENT

      The Intervenor-Appellants request oral argument. This case raises an

important issue of first impression in this Circuit with far-reaching

consequences for all paper-based voting regulations. Specifically, the District

Court invalidated a state voter-identification statute through a novel

interpretation of the Materiality Provision of the Civil Rights Act. If affirmed,

the decision would cast into doubt the lawfulness of many other voting rules

and create a circuit split with the Third Circuit.




                                         v
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                                INTRODUCTION

      Most States, including Texas, require those voting in person to show

identification. See, e.g., National Conf. of State Legislatures, Voter ID Laws (Feb.

2, 2024), https://perma.cc/4HGH-7NS6. The Supreme Court has upheld such

laws because they impose no meaningful burden on the right to vote and are

amply justified by the States’ “interest in deterring and detecting voter fraud.”

Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 191 (2008). Through Senate

Bill 1 (S.B. 1), the Texas Legislature adopted identification requirements for

individuals applying for and casting mail ballots—a voting method for which

“the potential and reality of fraud is much greater … than with in-person

voting.” Veasey v. Abbott, 830 F.3d 216, 239 (5th Cir. 2016) (en banc).

      The District Court, however, enjoined these commonsense measures

under the so-called Materiality Provision of the Civil Rights Act of 1964. In fact,

under the District Court’s reading of the Provision, all paper-based voting

requirements—including all such measures to protect election integrity, to

verify identity, and to prevent fraud—have been outlawed by Congress since

1964 because they are not used to determine an individual’s “qualification to

vote.” ROA.33240.

      The District Court was wrong. As the Third Circuit recently held—and

three Supreme Court Justices and two prior panels of this Court have


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indicated—the Materiality Provision applies only to rules used to make voter-

qualification determinations during the voter-registration process. It has no

application to ballot-casting rules, like S.B. 1’s vote-by-mail identification

requirements, that govern how registered voters request and cast a ballot. See

Pa. State Conf. of NAACP v. Sec’y Commonwealth of Pa., 97 F.4th 120, 130 (3d Cir.

2024), reh’g denied (Apr. 30, 2024); accord Ritter v. Migliori, 142 S. Ct. 1824,

1825 (2022) (Alito, J., dissental); Vote.Org v. Callanen, 39 F.4th 297, 305 n.6 (5th

Cir. 2022) (Vote.Org I); Vote.Org v. Callanen, 89 F.4th 459, 479 n.7 (5th Cir.

2023) (Vote.Org II). In fact, other than a vacated Third Circuit decision now

disavowed, every federal appellate decision to apply the Materiality Provision

has involved a voter-qualification rule, not a ballot-casting rule. See Pa. State

Conf. of NAACP, 97 F.4th at 127-28.

      The plain statutory text requires this reading. See, e.g., id. at 131-39. The

Materiality Provision applies only to “registration” and “other” analogous acts.

52 U.S.C. § 10101(a)(2)(B). It is implicated only “in determining” voters’

qualifications. Id. And it prohibits only outright “den[ials]” of “the right … to

vote” by deeming a would-be voter ineligible based on “not material” errors or

omissions on registration-related paperwork. Id.; see also Stay Order 5, ECF No.

80-1. Congress thus enacted the Provision to serve an important, but properly




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focused, role in protecting the right to vote against discriminatory state efforts

to prevent qualified individuals from registering to vote.

      The District Court’s contrary construction would unleash electoral chaos

by imperiling paper-based voting rules all across the country—including

numerous rules that regulate, and make possible, voting by mail. See Pa. State

Conf. of NAACP, 97 F.4th at 134-35; Liebert v. Millis, 23-cv-672, 2024 WL

2078216, at *14 (W.D. Wis. May 9, 2024). It also offends the federalism canon

by inferring from vague language a transformative shift in power from state

legislatures to federal courts. See Pa. State Conf. of NAACP, 97 F.4th at 134-35;

Liebert, 2024 WL 2078216, at *17. And it risks rendering the Provision

unconstitutional by unmooring it from the Congressional findings supporting

it.

      The Court should adhere to the plain statutory text, decline Plaintiffs’

invitation to create a split with the Third Circuit, and reverse.

                        STATEMENT OF JURISDICTION

      This Court has appellate jurisdiction under 28 U.S.C. § 1292(a)(1)

because Intervenor-Appellants timely appealed, ROA.33297-33298, from the

District Court’s grant of an injunction, ROA.33266-33267.

      The District Court had original jurisdiction under 28 U.S.C. § 1331

because Plaintiffs’ claims arise under a federal statute.


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                           STATEMENT OF THE ISSUE

      Whether S.B. 1’s identification requirements for individuals applying for

and casting mail ballots violate the Materiality Provision.

                           STATEMENT OF THE CASE

      A.     Congress Enacted The Materiality Provision To Target
             Discriminatory Voter-Registration Practices.

      Almost a century after the Fifteenth Amendment gave African Americans

the right to vote on paper, many had been thwarted in their attempts to register

to vote. As late as 1963, in “over 250 counties … less than 15 percent of the

voting-age [African-Americans were] registered to vote.” H.R. Rep. 88-914, pt.

2, at 2 (1963). Congress laid the blame for this on efforts by local “voting

officials to defeat [African-American] registration” Id. at 5. Among other things,

local “registrars [would] overlook minor misspelling errors or mistakes in age

or length of residence of white applicants, while rejecting [an African-

American] application for the same or more trivial reasons.” Id.

      Congress addressed these problems in Section 101(a) of the Civil Rights

Act of 1964, which consists of three provisions addressed to “State registration

officials,” id., and “designed to insure nondiscriminatory practices in the

registration of voters,” id., pt. 1, at 19; see 52 U.S.C. § 10101(a)(2).

      The first requires state officials to apply uniform standards “in

determining whether any individual is qualified” to vote.                  52 U.S.C.

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§ 10101(a)(2)(A). The second—the Materiality Provision at issue here—

prohibits “deny[ing] the right … to vote” based on certain errors or omissions

that are “not material in determining whether [an] individual is qualified under

State law to vote.” Id. § 10101(a)(2)(B). The third narrowed the permissible

uses of a “literacy test as a qualification for voting.” Id. § 10101(a)(2)(C).

      The House Report consistently described the Materiality Provision, like

its Section 101(a) neighbors, as a regulation of the voter-registration process.

See H.R. Rep. 88-914, pt. 1, at 19 (Provision bars “registration officials” from

“disqualifying an applicant for immaterial errors or omissions” and “prohibit[s]

the disqualification of an individual because of immaterial errors or

omissions”); id., pt. 2, at 5 (under the Provision, “State registration officials

must … disregard minor errors or omissions if they are not material in

determining whether an individual is qualified to vote”).           Contemporary

observers read the Provision the same way. See e.g., W. Christopher, The

Constitutionality of the Voting Rights Act of 1965, 18 STAN. L. REV. 1, 7 (1965)

(Provision prohibits “[d]enial of the right to vote in any federal election because

of immaterial omissions or errors in registration forms”).

      For the next half-century, that same understanding prevailed in federal

courts. In 2004, one district court observed that no “case law … in [any]

jurisdiction[] indicates that section [10101](a)(2)(B) was intended to apply to


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the counting of ballots by individuals already deemed qualified to vote.”

Friedman v. Snipes, 345 F. Supp. 2d 1356, 1371 (S.D. Fla. 2004). Indeed, courts

nationwide agreed that the Materiality Provision targets “the practice of

disqualifying potential voters for their failure to provide information irrelevant

to determining their eligibility to vote.” Schwier v. Cox, 340 F.3d 1284, 1294

(11th Cir. 2003); see also Fla. State Conf. of NAACP v. Browning, 522 F.3d 1153,

1173 (11th Cir. 2008); Thrasher v. Ill. Republican Party, 4:12–cv–4071–SLD–

JAG, 2013 WL 442832, at *3 (C.D. Ill. Feb. 5, 2013); Condon v. Reno, 913 F. Supp.

946, 950 (D.S.C. 1995). As the Third Circuit summarized: “Until recently, the

Materiality Provision received little attention from federal appellate courts.

When it did, the challenged state law prescribed rules governing voter

registration.” Pa. State Conf. of NAACP, 97 F.4th at 127. In fact, other than the

now-repudiated Migliori decision, every federal appellate decision to apply the

Materiality Provision has involved voter-registration rules rather than ballot-

casting rules. See, e.g., id. at 127-28; Schwier, 340 F.3d 1284; Browning, 522 F.3d

1153.

        A panel of this Court recently upheld a voter-registration rule under the

Materiality Provision while acknowledging that extending the Provision

beyond the voter-registration context is “possibly overbroad.” Vote.Org II, 89

F.4th at 479 n.7. In particular, the Vote.Org II panel held that Texas’s wet-


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signature requirement for voter-registration applications is “material” and

valid. See id. Even where the Provision applies, the panel explained, courts

must defer to a State’s “considerable discretion in deciding what is an adequate

level of effectiveness to serve [the] important interest” of protecting “voter

integrity.” Id. at 485. Thus, courts must uphold state laws covered by the

Provision whose “justification” is “more than tenuous.” Id. at 484-85. That

standard is “[u]ndeniabl[y]” met by laws aimed at confirming a would-be

voter’s identity: Whether such an individual is “actually who they say they are”

is a material “premise for all [] statutory qualifications” to vote. Id. at 487.

      B.     Texas Enacted S.B. 1 To Prevent Fraud And Promote Public
             Confidence In Elections.

      Texas provides voters many ways to complete and cast their ballots. All

voters may vote in person on Election Day or during a two-week early-voting

period. See Tex. League of United Latin Am. Citizens v. Hughs, 978 F.3d 136, 140

(5th Cir. 2020) (“LULAC”); Tex. Elec. Code § 85.001(a). Such voters can vote at

any polling place within their county. Tex. Elec. Code § 43.007. Texas also

permits several groups of voters—the elderly, disabled, incarcerated, and those

out-of-state during the voting period—to vote by mail. See Tex. Elec. Code §§

82.001-.004; see also Tex. Democratic Party v. Abbott, 961 F.3d 389, 414 (5th




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Cir. 2020) (Ho, J., concurring) (“For nearly a century, mail-in voting has been

the exception—and in-person voting the rule—in Texas.”).

      S.B. 1’s reforms responded to “the myriad difficulties experienced by

state election officials concerning mail-in ballots during the 2020 election

cycle.” Stay Order 2. Prior to that election, Texas took unprecedented action to

ensure all Texans the opportunity to vote safely amid the COVID-19 pandemic.

See, e.g., Proclamation, No. 41-3752, 45 Tex. Reg. 5455, 5456–57 (Aug. 7, 2020).

For example, Governor Abbott extended the early-voting period ahead of the

November general election and allowed counties to accept hand-delivered mail

ballots before Election Day. See id. at 5457.

      Unfortunately, that year’s election administration also spawned several

high-profile controversies. For example, Harris County unlawfully sent mail-

ballot applications to all registered voters over the age of 65, set up “drive-

through” voting locations, kept early-voting locations open overnight, and

established 12 ballot “drop boxes.” ROA.21916-21917; see also State v. Hollins,

620 S.W.3d 400, 410 (Tex. 2020) (holding that Harris County unlawfully sent

unsolicited mail-ballot applications). Other counties set up multiple drop-box

locations, even as most counties had only one. See LULAC, 978 F.3d at 141.

These local actions created inconsistent rules across counties and hindered poll

watchers from observing ballot drop-offs as Texas law entitles them to do. See


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id.; Jody Barr, Lawsuit planned over Travis County Clerk’s poll watcher ‘sequester’

during ballot counting, Kxan (Nov. 9, 2020), https://perma.cc/D5H5-WTDT

(discussing problems in Travis County).

       Simultaneously, many Texans were concerned about the risk of fraud in

Texas’s elections. See, e.g., University of Texas/Texas Tribune Poll, at 20

(2021), https://perma.cc/H9QP-UWCK. Those fears were not unfounded: In

2020, Denton County Elections Administrator Frank Phillips successfully

detected a scheme to submit fraudulent vote-by-mail applications and ballots

in a mayoral election.     See ROA.22627-22628, 22634-22635; A. Samuels,

Carrollton mayoral candidate arrested on suspicion of fraudulently obtaining

mail-in ballots, Tex. Tribune (Oct. 8, 2020), https://perma.cc/S6PG-Y438.

       In response to such incidents, Governor Abbott “made election integrity

an emergency item” for the 2021 legislative session, explaining that “[i]n the

2020 election, [Texans] witnessed actions … that could risk the integrity of our

elections and enable voter fraud.” Governor Abbott Prioritizes Election Integrity

this      Legislative      Session,       WBAP         (Mar.      15,       2021),

https://www.wbap.com/2021/03/15/governor-abbott-prioritizes-election-

integrity-this-legislative-session/. The Legislature responded. After months of

debate, compromises between competing draft bills, multiple public hearings,

and two special sessions, the Legislature passed S.B. 1—a bill designed to


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“reduce the likelihood of fraud in the conduct of elections, protect the secrecy

of the ballot, promote voter access, and ensure that all legally cast ballots are

counted.” S.B. 1, § 1.04. Governor Abbott signed it into law on September 7,

2021.

        S.B. 1 regulates many aspects of Texas’s elections, including voter

registration, early voting, poll watching, voter assistance, and vote harvesting.

See La Union del Pueblo Entero v. Abbott, 29 F.4th 299, 304 (5th Cir. 2022). As

relevant here, S.B. 1 adopted modest changes to Texas’s mail-voting rules.

        In order to vote by mail in a given year, an individual must submit a

signed application to the county early-voting clerk. Tex. Elec. Code §§ 84.001,

.007. Applicants must provide their “name and the address at which the

applicant is registered to vote,” the reason they are eligible to vote by mail, and

a mailing address, if different from their registration address.                 Id.

§ 84.002(a)(1). Once approved, an applicant can vote by mail for the rest of the

year. Id. § 86.0015(a).

        S.B. 1 amended the mail-voting process to require voters applying for—

and, later casting—a mail ballot to provide:

        (A) the number of the applicant’s driver’s license, election
        identification certificate, or personal identification card issued by
        the Department of Public Safety;




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       (B) if the applicant has not been issued a number described by
       Paragraph (A), the last four digits of the applicant’s social security
       number; or

       (C) a statement by the applicant that the applicant has not been
       issued a number described by Paragraph (A) or (B).

S.B. 1, § 5.02 (codified at Tex. Elec. Code § 84.002(1-a)); S.B. 1, § 5.07 (codified

at Tex. Elec. Code § 86.001(f)-(f-2)). Notably, this is the same identification

information Texans must provide when registering to vote, see Tex. Elec. Code

§ 13.002(c)(8), in line with federal requirements in the Help America Vote Act

(“HAVA”), 52 U.S.C. § 21083(a)(5)(A).

      S.B. 1 thus establishes an apparent hierarchy among acceptable

identification numbers: A Department of Public Safety number is required for

individuals who have been issued one, and the last four digits of a Social

Security number may be provided by individuals who have not. Nonetheless,

to ease the burden of complying with S.B. 1, the Secretary of State has advised

that voters may provide either number, and election officials have encouraged

voters to provide both numbers on applications and ballot carrier envelopes.

See ROA.33224. Election officials have accepted applications and ballots with

either (or both) numbers, so long as a provided number matches a number

recorded for the voter in the State’s voter-registration database, Texas Election

Administration Management (“TEAM”). Id.



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      Section 5.07 of S.B. 1 requires election officials to deny a mail-ballot

application if the applicant provides no number or a number that does not

match the number the individual provided during voter registration. S.B. 1,

§ 5.07 (codified at Tex. Elec. Code § 86.001(f)-(f-2)).         Texas law grants

applicants a right to cure a defective mail-ballot application. See Tex. Elec. Code

§ 86.008; ROA.33219, 33221-33222. Election officials notify applicants of a

defect by either (i) “return[ing] the application … or deliver[ing] an official

application form to the applicant,” along with a written explanation of the

defect and how to cure it, or (ii) telephone or e-mail if the application deadline

is looming. Tex. Elec. Code §§ 86.008(a)-(c-1). Curing may be accomplished in

person, by mail, or online through Texas’s “Ballot Tracker.” See id. § 86.008;

ROA.33219, 33221-33222. Anyone unable to cure an application retains the

right to vote in person through Election Day. See Tex. Elec. Code §§ 84.007(c),

84.031(b).

      Once a mail-ballot application is approved, election officials mail the

voter a ballot, a ballot envelope in which to place the ballot, and a carrier

envelope in which to place the ballot envelope and ballot. Tex. Elec. Code §

86.002(a).   Even before S.B. 1, voters were required to provide certain

information on the carrier envelope, such as a name, address, and signature. Id.

§ 86.013. S.B. 1 adds a new requirement: Voters must record on the carrier


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envelope the same number they successfully used to apply for the mail ballot,

id. § 86.002(g)-(i)), or their ballot will be rejected, S.B. 1, § 5.13 (codified at Tex.

Elec. Code § 87.041(b), (d-1), (e)).

      S.B. 1 created a new curing right for Texans who submit defective mail

ballots, including due to noncompliance with S.B. 1’s identification

requirement. Tex. Elec. Code § 87.0411; ROA.33221-33222. Election officials

notify voters of any defect by either (i) returning the carrier envelope and a

“corrective action form” to the voter or (ii) by telephone or e-mail if the mail-

ballot submission deadline is looming. Tex. Elec. Code § 87.0411; see also id.

§ 87.0271(b). A voter may cure a defective mail ballot during the six days after

Election Day, Tex. Elec. Code § 87.0271, and may do so online through the Ballot

Tracker, by mail, or in person. ROA.33221-33222. Anyone unable to cure a

mail ballot retains the right to vote in person through Election Day. Tex. Elec.

Code §§ 84.032, 84.035.

      Thus, election officials applying S.B. 1’s identification requirements do

not make any determination regarding any individual’s qualifications to vote.

See, e.g., ROA.33224. Election officials do not “disqualify” individuals who fail

to comply with S.B. 1’s identification requirements, remove them from the list

of registered voters, or prevent them from voting in person or in future

elections. Schwier, 340 F.3d at 1294. Instead, they simply decline to accept


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noncompliant applications or to count noncompliant ballots “because

[individuals] did not follow the rules for” completing the application or “casting

a ballot.” Ritter, 142 S. Ct. at 1825 (Alito, J., dissental); cf. Pa. State Conf. of

NAACP, 97 F.4th at 133.

      The 2022 primary and general elections were conducted under S.B. 1.

Despite Plaintiffs’ fears that S.B. 1 would suppress voter turnout, turnout in

Texas in the 2022 general election compared favorably to past turnout and

national trends. See ROA.13180-13181. Although the mail-ballot rejection rate

was unusually high in the March 2022 primary, it plummeted to just 2.7%

during the general election.      See ROA.13204-13206; see also ROA.13227

(Plaintiffs’ expert concluding “the uncured/uncanceled rejection rate [to] be

2.5%”). Moreover, in the 2022 general election, nearly half of those whose

ballots were initially rejected under S.B. 1 successfully cured their ballots.

ROA.13203-13205. That includes member of Appellee REVUP-Texas. See

ROA.40980-40981.

      In sum, out of more than 8.1 million votes cast in the 2022 general

election, only 6,355 mail ballots were rejected for reasons related to S.B. 1. See

ROA.13201. “That is well less than one out of every thousand votes statewide.”

Id. at 13201-02. Multiple election officials testified that, as voters have become

more familiar with S.B. 1, overall mail-ballot rejection rates have fallen to


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historical levels—or even lower. See, e.g., ROA.22523-22525 (Bexar County

rejection rate lower in 2022 general election than in 2020 general election);

ROA.22628-22630 (Denton County); ROA.22846-22847 (Secretary of State).

      Indeed, despite their best efforts, Plaintiffs have not produced even a

single voter who was unable to vote because of S.B. 1’s identification rules.

Plaintiffs initially identified one voter, Teri Saltzman, whose sworn declaration

recounted that her mail ballot was rejected in the March and November 2022

elections because of those rules. ECF No. 123 at 3. At trial, however, Ms.

Saltzman testified that her ballot was rejected in the March primary election for

a reason unrelated to S.B. 1, and that her ballot was accepted in the general

election without incident. Id. Plaintiffs subsequently informed this Court that

Ms. Saltzman’s sworn declaration was “incorrect” on these points. Id.

      C.    Private Plaintiffs And The United States Challenge S.B. 1’s
            Identification Rules.

      Even before Governor Abbott signed S.B. 1 into law, various

organizations challenged it in federal court. See, e.g., No. 1:21-cv-780, Doc. 1

(complaint filed Sept. 3, 2021). As relevant here, OCA Greater-Houston, REVUP-

Texas, and the League of Women Voters of Texas (collectively, “OCA Plaintiffs”)

argued that S.B. 1’s vote-by-mail identification requirements violate the

Materiality Provision. The United States later brought a substantially identical



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Materiality Provision challenge. See 5:21-cv-1085, Doc. 13.

      The cases were consolidated with other lawsuits challenging almost

every provision of S.B. 1. ROA.33215 n.2. The Harris County Republican Party,

Dallas County Republican Party, Republican National Committee, National

Republican Senatorial Committee, and National Republican Congressional

Committee intervened as defendants after this Court reversed the District

Court’s denial of their intervention motion. See La Union Del Pueblo Entero, 29

F.4th at 306-08.

      Nearly two years of extensive discovery followed, in which Plaintiffs

sought documents from and deposed a host of Texas election officials. See La

Union Del Pueblo Entero v. Abbott, 68 F.4th 228, 231 (5th Cir. 2023) (reversing

District Court’s rejection of non-party state legislators’ legislative-privilege

assertion). Eventually, the OCA Plaintiffs, United States, State Defendants, and

Intervenor-Defendants all moved for summary judgment on the Materiality

Provision challenges.

      The District Court granted Plaintiffs’ motions in relevant part.

ROA.33266-33267. In an opinion issued only after a lengthy bench trial on

Plaintiffs’ remaining claims, the District Court held that the Materiality

Provision preempts all state paper-based election rules unless they demand

information “material to [a voter’s] qualification to vote in a given election.”


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ROA.33240. The District Court thought it “is self-evident that a voter’s ID

number is not material to her eligibility to vote under Texas law.” ROA.33241.

It therefore enjoined State Defendants from enforcing S.B. 1’s identification

requirements. ROA.33262-33267.

      A panel of this Court stayed the injunction pending appeal. See Stay

Order. Among other reasons, the panel concluded that it would likely reverse

because the Materiality Provision does not apply to “vote-by-mail restrictions.”

Id. at 5-6. Mere weeks later, the Third Circuit rejected the rationale espoused

by the District Court, holding that the Materiality Provision “only applies when

the State is determining who may vote” and “does not apply to rules … that

govern how a qualified voter must cast his ballot for it to be counted.” Pa. State

Conf. of NAACP, 97 F.4th at 125.

                          SUMMARY OF ARGUMENT

      I.    A.    S.B. 1’s identification requirements cannot violate the

Materiality Provision for three reasons.

      1. Neither a vote-by-mail application nor a mail ballot is a “record or

paper” related to an “application, registration, or other act requisite to voting.”

52 U.S.C. § 10101(a)(2)(B). The words “registration” and “application” refer to

documents used in “voter registration specifically.” Vote.Org I, 39 F.4th at 305

n.6; see Pa. State Conf. of NAACP, 97 F.4th at 129-133. Because the challenged


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S.B. 1 requirements do not apply to voter-qualification determinations made

during Texas’s voter-registration process, the Materiality Provision has nothing

to say about them.

      2.   Nor are the challenged identification requirements used “in

determining whether [an] individual is qualified under State law to vote.” 52

U.S.C. § 10101(a)(2)(B). Like virtually every other State, Texas determines

whether individuals satisfy the State’s voter-qualification rules during the

voter-registration process. And only registered Texans can apply for or receive

mail ballots. Thus, the challenged requirements apply only to individuals

already “determin[ed] … qualified under State law ... to vote,” id., and

application of the requirements does not result in a determination whether any

individual is qualified to vote. The Materiality Provision therefore does not

reach them.

      3. Finally, S.B. 1’s identification rules do not “deny” anyone “the right to

vote.” The Materiality Provision’s plain text confirms as much: the operative

statutory definition of “vote” refers to “all action necessary to make a vote

effective” under state law. 52 U.S.C. § 10101(e). Accordingly, the Provision

prohibits only state rules that “deny” voters the “right” to take “all action

necessary to make a vote effective” under state law, not rules that delineate

those actions. Id. §§ 10101(a)(2)(B) (emphasis added), 10101(e).


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      This plain text tracks longstanding understanding of the term “right to

vote.” When the Provision was enacted, that term had a well-established

meaning: It guaranteed “access to the polls.” Pa. State Conf. of NAACP, 97 F.4th

at 133. But then, as today, individuals were still required to follow neutrally-

applied “ballot-casting” rules for their ballots to be counted. Id. at 133-34.

“[A]nd the failure to follow [such a] rule[] constitutes the forfeiture of the right

to vote, not the denial of that right.”       Id. at 135 (cleaned up).     S.B. 1’s

identification rules are ballot-casting rules that delineate how qualified

individuals vote; they therefore do not “deny” anyone “the right … to vote.”

      B. The District Court’s contrary reading is untenable. It would disable

States from pursuing through paper-based regulations any interest other than

determining voter eligibility. That would jeopardize a host of longstanding

ballot-casting rules, including signature requirements, rules against writing on

secrecy envelopes, and witness requirements. Under the federalism canon,

such a dramatic withdrawal of States’ authority requires a clear statement—

which the Materiality Provision lacks. The District Court’s reading would also

render the Provision unconstitutional under the Fifteenth Amendment by

unmooring it from the enacting Congress’s findings, which were limited to

voter registration.




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      II.   The framework applied by this Court in Vote.Org II does not extend

beyond voter-registration rules. Even if this Court applies that framework here,

it should reverse because S.B. 1’s identification requirements easily pass

muster. They are designed to confirm that would-be voters “actually [are] who

they say they are” and, thus, to protect election integrity and prevent fraud in

mail voting—just like identification requirements for individuals who vote in

person. Vote.Org II, 89 F.4th at 487.

                           STANDARD OF REVIEW

      This Court reviews the grant of summary judgment and questions of

statutory interpretation de novo. Vote.Org II, 89 F.4th at 469.

                                  ARGUMENT

      By its plain text, the Materiality Provision does not apply to S.B. 1’s vote-

by-mail identification requirements.         Precedent, legislative history, and

bedrock interpretive principles all bolster that conclusion. Even if this Court

disagrees, it should uphold the challenged provisions under the deferential

standard established in Vote.Org II.

I.    S.B. 1’S IDENTIFICATION REQUIREMENTS DO NOT VIOLATE THE MATERIALITY
      PROVISION.

      “States may, and inevitably must, enact reasonable regulations of parties,

elections, and ballots to reduce election- and campaign-related disorder.”

Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997). And “States

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have separate bodies of rules for separate stages of the voting process.” Pa.

State Conf. of NAACP, 97 F.4th at 129-30. “One stage, voter qualification, deals

with who votes” and is governed by rules designed to answer that question. Id.

at 130. Meanwhile, a “different set of rules” “deals with how ballots are cast by

those previously authorized to vote.” Id.; Anderson v. Celebrezze, 460 U.S. 780,

788 (1983) (distinguishing laws that “govern[] the registration and

qualifications of voters” from those regulating “the voting process itself”); see

also Ritter, 142 S. Ct. at 1825-26 (Alito, J., dissental). Post-registration rules

often have nothing to do with assessing who is qualified to vote; they pursue

other objectives, like the “prevention of fraud” or facilitating the “counting of

votes.” Smiley v. Holm, 285 U.S. 355, 366 (1932). Yet according to the District

Court, the Materiality Provision prohibits States from adopting any mandatory

paper-based election rule—including any ballot-casting rule—unless it is used

to determine voter eligibility. ROA.33240-33247.

      That makes no sense. “[I]t would be absurd to judge the validity of voting

rules based on whether they are material to eligibility.” Ritter, 142 S. Ct. at 1825

(Alito, J., dissental); see Pa. State Conf. of NAACP, 97 F.4th at 136. Almost every

State, including Texas, determines voter eligibility during a voter-registration

process.     See, e.g., U.S. Election Assistance Comm’n, Voter FAQs,

https://perma.cc/FNQ3-SLC4 (last visited Apr. 18, 2024) (noting 49 States


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require voters “to be registered to vote to participate in an election”). The

Materiality Provision governs only qualification determinations during that

process, not rules governing requesting or casting of ballots by “those

previously authorized to vote.” Pa. State Conf. of NAACP, 97 F.4th at 130; see

Ritter, 142 S. Ct. at 1825-26 (Alito, J., dissental); Vote.Org I, 39 F.4th at 305 n.6;

Friedman, 345 F. Supp. 2d at 1371 (explaining that the Provision does not

regulate “the counting of ballots [cast] by individuals already deemed qualified

to vote”). Because S.B. 1’s identification requirements are not used during voter

registration to assess voter qualifications, they do not even implicate, let alone

violate, the Materiality Provision.

      A.     S.B. 1’s Identification Requirements Do Not Implicate The
             Materiality Provision.

      The Materiality Provision forbids state actors to:

      deny the right of any individual to vote in any election because of
      an error or omission on any record or paper relating to any
      application, registration, or other act requisite to voting, if such
      error or omission is not material in determining whether such
      individual is qualified under State law to vote in such election.

52 U.S.C. § 10101(a)(2)(B).

      In at least three ways, the Provision’s plain text confirms that S.B. 1’s

identification requirements cannot violate it. Those requirements do not apply

to any “application, registration, or other act requisite to voting,” are not used



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“in determining” any individual’s qualifications to vote, and do not result in

“den[ial]” of any individual’s “right … to vote.” Id. Instead, they govern the

validity of vote-by-mail applications and ballots purportedly submitted by

individuals who have “already been … found qualified by an election official.”

ROA.33246.        And to the extent any doubt remains, the federalism and

constitutional avoidance canons require the conclusion that the Provision does

not apply to these requirements.

             1.     S.B. 1’s Identification Requirements Do Not Apply To A
                    “Record Or Paper” Related To An “Application,
                    Registration, Or Other Act Requisite To Voting.”

      The Materiality Provision applies only to a “record or paper” related to

an “application, registration, or other act requisite to voting.” Id. These terms

refer to documents used in “only voter registration specifically.” Vote.Org I, 39

F.4th at 305 n.6; see Ritter, 142 S. Ct. at 1825-26 (Alito, J., dissental); Pa. State

Conf. of NAACP, 97 F.4th at 132-33.

      When this language was enacted, the terms “application” and

“registration” were interchangeable, and referred to voter registration. H.R.

Rep. 88-914, pt. 1, at 19 (Provision bars “registration officials” from

“disqualifying an applicant for immaterial errors or omissions”); id. at 77

(referring to “application to register”); id., pt. 2, at 5 (referring to efforts to

“defeat [African-American] registration” by “rejecting … applications” to vote);


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id. (faulting “registrars” for “rejecting [African-American] application[s]” in

registration process); Pa. State Conf. of NAACP, 97 F.4th at 132-33 (analyzing

legislative history and reaching same conclusion); cf. In re Sinclair, 870 F.2d

1340, 1342 (7th Cir. 1989) (Easterbrook, J.) (recognizing that legislative history

is appropriately used to “reconstruct the legal and political culture” in which

the text was enacted). And States still use those terms to refer to voter

registration today.1

      The residual phrase “other act requisite to voting,” 52 U.S.C.

§ 10101(a)(2)(B), likewise refers only to voter registration, see Pa. State Conf.

of NAACP, 97 F.4th at 132. A straightforward application of the ejusdem generis

canon compels that interpretation. Id. “[W]here general words follow an

enumeration of specific items, [they] are read as applying only to other items

akin to those specifically enumerated.” Harrison v. PPG Indus., 446 U.S. 578, 588

(1980). Here, that means the residual phrase must be “controlled and defined

by reference to the enumerated categories,” Cir. City Stores v. Adams, 532 U.S.

105, 115 (2001), of “application” and “registration,” 52 U.S.C. § 10101(a)(2)(B).


   1 E.g., Voter Registration, Md. State Bd. of Elections (“Voter Registration

Application”), https://perma.cc/FXC6-QKUD (last visited Dec. 8, 2023); Voter
Registration Application, D.C. Bd. of Elections, https://perma.cc/B8GX-K4E7
(last visited Apr. 18, 2024); National Voter Registration Application Form for U.S.
Citizens, U.S. Election Assistance Comm’n, https://perma.cc/GEU2-9SNN (last
visited Apr. 18, 2024).

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See Pa. State Conf. of NAACP, 97 F.4th at 132 (“The phrase ‘act requisite to

voting’ also draws its import from the context in which it appears.”); Liebert,

2024 WL 2078216, at *13; Ball v. Chapman, 289 A.3d 1, 38 n.11 (Pa. 2023)

(opinion of Brobson, J.).

      Applying ejusdem generis is the only way to give meaning to the entire

phrase “application, registration, or other act requisite to voting.” Ignore the

canon, and the words “registration” and “application” become “superfluous”—

an outcome courts must avoid. Pa. State Conf. of NAACP, 97 F.4th at 138; Liebert,

2024 WL 2078216 at *13; see also Freeman v. Quicken Loans, Inc., 566 U.S. 624,

635 (2012).     If the residual phrase already captured all voting-related

paperwork, the first two categories were a waste of ink.

      Conversely, applying ejusdem generis leaves the residual phrase work to

do: “prevent[ing] government officials from creating a new voter qualification

process and avoiding the requirements of the Materiality Provision simply by

calling the process something besides ‘registration’ or ‘application.’” Liebert,

2024 WL 2078216, at *15. The residual phrase may also cover forms that

citizens must submit to remain registered to vote once deemed qualified, such

as a declaration by a released felon that he has paid all outstanding fines or by

an inactive voter that she remains at her registered address.




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      Moreover, a context-sensitive interpretation of the residual phrase

harmonizes the statute’s reach with precedent and Congress’s obvious aim:

preventing States from “defeat[ing]” African-American voter “registration” by

denying registration applications based on “minor misspelling errors or

mistakes in age or length of residence.” H.R. Rep. No. 88-914, pt. 2, at 5; see Pa.

State Conf. of NAACP, 97 F.4th at 132-33; supra at 4-5.

      The Provision’s crucial but cabined scope dooms Plaintiffs’ challenges.

Only registered voters can apply for or cast mail ballots, see Tex. Elec. Code §§

82.001–.004, 82.007–.008, as the District Court acknowledged, ROA.33246. S.B.

1’s identification requirements are not applied during the voter-registration

process, but instead to determine the validity of vote-by-mail applications and

ballots. The requirements therefore do not implicate, let alone violate, the

Materiality Provision. See Pa. State Conf. of NAACP, 97 F.4th at 131-35.

            2.     S.B. 1’s Identification Requirements Are Not Used “In
                   Determining” Any Individual’s Qualifications To Vote.

      The Materiality Provision also requires that the paper or record be used

“in determining” whether someone is “qualified” to vote. § 10101(a)(2)(B).

When paired with a “verbal noun” (like “determining”) the word “in” is typically

“equivalent in sense to a temporal clause introduced by when, while, if.” In,

prep., def. 21(b), Oxford English Dictionary (3d ed. 2021, rev. online Mar. 2023).



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Here, that means the Provision applies only to actions taken when determining

an individual’s eligibility. See Ball, 289 A.3d at 38 (opinion of Brobson, J.);

Liebert, 2024 WL 2078216 at *2, *13; see also Ritter, 142 S. Ct. at 1825-26 (Alito,

J., dissental). As the Third Circuit explained, these words “describe a process—

namely, determining whether an individual is qualified to vote.” Pa. State Conf.

of NAACP, 97 F.4th at 131. Voting papers are covered by the Provision “only”

when they are used during that process and “in that context.” Id.

      The structure of 52 U.S.C. 10101(a), in which the Provision resides,

underscores the point. Id. at 131; Liebert, 2024 WL 2078216, at *13. The

immediately preceding provision—§ 10101(a)(2)(A)—requires “uniform

standards for vot[er] qualifications” within the same political subdivision. 52

U.S.C. § 10101(a) (subsection title) (emphasis added).            It also uses a

substantially identical phrase—“in determining whether any individual is

qualified under State law or laws to vote in any election”—to limit its reach to

voter-qualification determinations.          Id. § 10101(a)(2)(A).       And the

subparagraph immediately following the Provision, which restricts use of

literacy tests formerly used during voter registration, see, e.g., Lassiter v.




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Northampton Cnty. Bd. of Elections, 360 U.S. 45, 46 (1959), is likewise limited to

“qualification” determinations, 52 U.S.C. § 10101(a)(2)(C). 2

      Subsection (e) further reinforces the qualification-and-registration focus

of § 10101(a). That subsection empowers courts to address systemic violations

of “any right or privilege secured by subsection (a),” including the Materiality

Provision. Id. § 10101(e) (emphasis added). Yet the only remedy it authorizes

is “an order declaring [an applicant] qualified to vote.” Id. Subsection (e) thus

confirms that the “right” secured by the Provision is the right of qualified

individuals to register to vote.     If the Provision extended beyond voter-

qualification determinations during the registration process, subsection (e)’s

remedy would not enable courts to redress the violation of “any right” secured

by § 10101(a). Id. (emphasis added).

      By contrast, when Congress sought to prohibit intimidation of anyone

engaged in the act of voting, it assigned the topic its own subsection, rather than

sandwich it between two provisions about voter registration and qualifications.

See id. § 10101(b).

      Texas, like virtually every State, determines whether an “individual is

qualified to vote,” id. § 10101(a)(2)(B), during the voter-registration process,


   2 Confirming that point, Congress later enacted a separate provision banning

literacy tests at all other steps of the voting process. See 52 U.S.C. § 10501.

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see Tex. Elec. Code § 13.002; ROA.33217 (discussing Texas’s voter-registration

process). S.B. 1’s identification requirements apply only after the State has

already found the individual qualified. ROA.33244, 33246. Election officials

applying those requirements do not make any qualification determinations—

as the District Court recognized. ROA.33261. Officials do not “disqualify”

individuals who fail to comply with the requirements, remove them from the

voter-registration list, or prevent them from voting in person or in future

elections. Schwier, 340 F.3d at 1294. Instead, they merely determine that

noncompliant applications and ballots are invalid and that voters retain a right

to vote in the current election—either by curing or voting in person—and in

future elections. E.g., S.B. 1, § 5.02 (codified at Tex. Elec. Code § 84.002(1-a));

S.B. 1, § 5.07 (codified at Tex. Elec. Code § 86.001(f)-(f-2)).            S.B. 1’s

identification rules are not used “in determining whether [an] individual is

qualified under State law … to vote” and, thus, do not implicate the Materiality

Provision. 52 U.S.C. § 10101(a)(1)(B).

            3.     S.B. 1’s Identification Requirements Do Not “Deny The
                   Right Of Any Individual To Vote.”

      The Materiality Provision prohibits only “deny[ing] the right of any

individual to vote”—it does not preclude States from imposing mandatory rules

for election administration like those Plaintiffs challenge.         See 52 U.S.C.



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§ 10101(a)(2)(B); Ritter, 142 S. Ct. at 1825-26 (Alito, J., dissental); Pa. State

Conf. of NAACP, 97 F.4th at 125. For at least two reasons, this clause confirms

that S.B. 1’s identification rules fall beyond the Materiality Provision’s sensible,

and sensibly limited, scope.

      First, the “right to vote” does not encompass mail voting, so mail-voting

rules do not deny any individual that right. The stay panel already confirmed

that point. See Stay Order 5 (mail-in voting rules “do not deny anyone the right

to vote” under “the Materiality Provision” “because they only affect the ability

of some individuals to vote by mail”). Indeed, by the mid-1960s, the “right to

vote” was a well-established concept with a well-established meaning. See, e.g.,

Baker v. Carr, 369 U.S. 186, 247 (1962) (Douglas, J., concurring) (the “right to

vote” was “protected by the judiciary long before that right received the explicit

protection” in civil-rights statutes). By using that phrase, the Materiality

Provision did not encode a “novel principle,” but instead “codified a pre-existing

right” whose contours must be discerned from “history.” See N.Y. State Rifle &

Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 20 (2022); Brnovich v. DNC, 594 U.S. 647,

649 (2021) (consulting the “standard practice” at the time “when § 2 [of the

Voting Rights Act] was amended” to determine what “furnish[es] an equal

‘opportunity’ to vote in the sense meant by § 2”).




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      When the Provision was enacted, the “right to vote” meant the right to

register to vote and to cast a ballot on equal terms with other registered voters.

See McDonald v. Bd. of Election Comm’rs, 394 U.S. 802, 807 (1969). It was not

understood to entail a right to vote by mail, since mail voting was limited to a

small number of situations. See, e.g., id. at 804 (discussing statute permitting

mail voting only for voters “absent from the county” and those “unable to

appear at the polls because of physical incapacity, religious holidays, or election

duties”). Just a few years after the Provision became law, the Supreme Court in

McDonald unanimously held that “the right to vote” does not encompass the

“right to receive absentee ballots,” id. at 807—a holding this Court recently and

expressly reaffirmed.     See Tex. Democratic Party, 961 F.3d at 403-06

(“McDonald lives.”).

      Therefore, application of S.B. 1’s identification rules cannot deny an

individual the “right to vote” under the Materiality Provision. Stay Order 5.

After all, anyone unable to vote by mail successfully—including under S.B. 1’s

identification rules—remains free to vote in person, either on Election Day or

during two weeks of early voting. As this Court explained, “Texas permits

[voters] to vote in person; that is the exact opposite of ‘absolutely prohibiting’

them from doing so.”       Tex. Democratic Party, 961 F.3d at 404 (quoting

McDonald, 394 U.S. at 808 n.7).


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      Second, more generally, mandatory election-administration and ballot-

casting rules do not deny anyone “the right to vote” under the Materiality

Provision. See Pa. State Conf. of NAACP, 97 F.4th at 133-34; accord Ritter, 142 S.

Ct. at 1825-26 (Alito, J., dissental). The plain statutory text confirms as much.

The operative definition of “vote” refers to “all action necessary to make a vote

effective” under state law. 52 U.S.C. § 10101(e). Accordingly, the Materiality

Provision prohibits only state rules that “deny” voters the “right” to take “all

action necessary to make a vote effective” under state law, not the underlying

rules that delineate those “action[s].” Id. §§ 10101(a)(2)(B) (emphasis added),

10101(e).

      This text tracks longstanding understanding of the term “right to vote.”

Courts have long understood the “right to vote” to require election officials to

count any “lawful and regular” ballot “entitled to be counted” under state law.

See, e.g., United States v. Mosley, 238 U.S. 383, 385-86 (1915). In 1964 as now,

the “right to vote” was not understood to vitiate neutral, generally applicable

state laws governing the act of casting a ballot. See, e.g., id.; Brnovich, 594 U.S.

at 668-670.

      McDonald, for instance, recognized that restrictions on mail voting may

make casting a ballot “extremely difficult, if not practically impossible,” for a

select handful of individuals. 394 U.S. at 810. But because such restrictions do


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not formally deny anyone—even within that category—“the exercise of the

franchise,” they do not implicate “the right to vote.” Id. at 807-08. In contrast,

laws that “totally den[y] the electoral franchise to a particular class of

residents” by deeming them not “eligible to vote” implicate “the right to vote.”

Rosario v. Rockefeller, 410 U.S. 752, 756-57 (1973). Laws regulating the voting

process, however, such as “a time deadline,” do not “disenfranchise” anyone. Id.

at 757.

      This distinction—between laws that disenfranchise by depriving eligible

individuals of the opportunity to vote on equal terms and laws that regulate the

receipt and casting of ballots—persists to this day. See, e.g., Ritter, 142 S. Ct. at

1825 (Alito, J., dissental) (“Even the most permissive voting rules must contain

some requirements, and the failure to follow those rules constitutes the

forfeiture of the right to vote, not the denial of that right.”); DNC v. Wis. State

Legislature, 141 S. Ct. 28, 35 (2020) (Kavanaugh, J., concurral) (“[A] State’s

election [rule] does not disenfranchise voters who are capable of [following it]

but fail to do so.”); Crawford v. Marion Cnty. Election Bd., 472 F.3d 949, 952 (7th

Cir. 2007) (distinguishing denials of the right to vote from regulations that

cause some “eligible voters to disenfranchise themselves”), aff’d, 553 U.S. 181.

      And that distinction informs the Materiality Provision’s scope. As the

Third Circuit recently confirmed, there is “no authority that the ‘right to vote’


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encompasses the right to have a ballot counted that is defective under” a State’s

otherwise valid ballot-casting rules. Pa. State Conf. of NAACP, 97 F.4th at 133.

“If state law provides that ballots completed in different colored inks, or secrecy

envelopes containing improper markings, or envelopes missing a date, must be

discounted, that is a legislative choice that federal courts might review if there

is unequal application, but they have no power to review” such choices under

the Materiality Provision. Id. Only rules that deprive eligible individuals of all

opportunity to vote on equal terms can violate the Provision; rules that regulate

how eligible individuals receive and cast their ballots do not. See, e.g., id; accord

Ritter, 142 S. Ct. at 1825 (Alito, J., dissental).

      For this reason too, S.B. 1’s identification requirements cannot “deny” the

“right … to vote” under the Provision. Officials enforcing these requirements

do not “disqualify potential voters,” remove them from the list of registered

voters, or prevent them from voting in the current or any future election.

Schwier, 340 F.3d at 1294. Instead, they simply decline to accept noncompliant

applications or to count noncompliant ballots “because [individuals] did not

follow the rules for” completing the application or “casting a ballot.” Ritter, 142

S. Ct. at 1825 (Alito, J., dissental); see Pa. State Conf. of NAACP, 97 F.4th at 133.

Such individuals are not denied the right to vote; they remain free to vote in any

election on equal terms with, and according to the same rules as, all other


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voters. See id.; accord Rosario, 410 U.S. at 757; Wis. State Legislature, 141 S. Ct.

at 35 (Kavanaugh, J., concurral).

            4.     The Federalism Canon Bars Application Of The
                   Materiality Provision to S.B. 1’s Identification
                   Requirements.

      By    extending    the   Materiality    Provision    beyond     qualification

determinations during the voter-registration process, the District Court’s

interpretation jeopardizes many longstanding election-administration and

ballot-casting rules nationwide. Since the Materiality Provision does not clearly

require this result, the federalism canon forbids it. See Liebert, 2024 WL

2078216 at *16.

      Under that canon, courts must not read a statute “to significantly alter the

balance between federal and state power” absent “exceedingly clear language”

announcing that change. Ala. Ass’n of Realtors v. HHS, 594 U.S. 758, 764 (2021).

Courts thus must avoid interpreting statutes to “hamper the ability of States to

run efficient and equitable elections, and compel federal courts to rewrite state

electoral codes.” Clingman v. Beaver, 544 U.S. 581, 593 (2005).

      Indeed, States must provide a “complete code for … elections,” regulating

not only voter qualifications, but also “supervision of voting, protection of

voters, prevention of fraud and corrupt practices, counting of votes, duties of

inspectors and canvassers, and making and publication of election returns,”


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among others. Smiley, 285 U.S. at 366; see also Anderson, 460 U.S. at 788; Ritter,

142 S. Ct. at 1825-26 (Alito, J., dissental). Unsurprisingly, States have often

enacted such regulations through paper-based requirements.

      Voter-identification requirements are one such example. They regulate

the casting of ballots, not qualification or registration of voters. They serve a

legitimate purpose besides determining eligibility—i.e., “deterring and

detecting voter fraud.” Crawford, 553 U.S. at 191. For instance, Denton County

Election Administrator Frank Phillips, who successfully detected a mail-voting

fraud scheme during the 2020 elections, testified that S.B. 1’s identification

provisions would have helped prevent that scheme. See ROA.22627-22628,

22634-22635.

      Until quite recently, the Materiality Provision and paper-based ballot-

casting rules coexisted peacefully, thanks to the universal understanding that

the Provision did not cover “the counting of ballots by individuals already

deemed qualified to vote.” Friedman, 345 F. Supp. 2d at 1371; see Pa. State Conf.

of NAACP, 97 F.4th at 127.

      But over the last few years, activists have invoked the Materiality

Provision as part of a nationwide campaign to weaken regulations of mail

voting. And some courts, including the District Court below, have accepted

their arguments. See Migliori v. Cohen, 36 F.4th 153 (3d Cir. 2022) (blocking


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requirement that individuals date mail ballots), vacated 143 S. Ct. 297 (2022);

In re Ga. Senate Bill 202, 2023 WL 5334582, at *8 (N.D. Ga. Aug. 18, 2023)

(requirement to list birthdate on ballot); Vote.Org v. Ga. State Election Bd., 661

F. Supp. 3d 1329, 1334 (N.D. Ga. 2023) (requirement to sign absentee ballot

application).

      Left unchecked, that approach will doom countless statutes and erode the

integrity of elections across the country. Under the District Court’s logic, many

other widespread, commonsense paper-based regulations are now federal

civil-rights violations, merely because they further interests besides

determining eligibility. These include:

   x Mail-ballot signature requirements, e.g., Tex. Elec. Code § 87.041(b); Ariz.
     Rev. Stat. § 16-547(A), (D); Cal. Elec. Code § 3011(a)(2); Fla. Stat. §
     101.65(7); 10 ILCS § 5/19-5; Ky. Rev. Stat. § 117.085(2); La. Stat. § 18:
     1306E.(1)(f); N.J. Stat. § 19:62-11(c); 25 Pa. Cons. Stat. §§ 3146.6(a),
     3150.16(a); Wash. Rev. Code § 29A.40.091(1);

   x Mail-ballot application signature requirements, e.g., Tex. Elec. Code §
     84.001(b); Ariz. Rev. Stat. § 16-542; Colo. Rev. Stat. § 31-10-1002(1); Ky.
     Rev. Stat. § 117.085(2); Md. Code § 9-305(a)(3)(i); Mass. Gen. Laws ch.
     54 § 25B(a)(2); Tenn. Code § 2-6-202(a)(3);

   x Requirements to have a witness sign a mail ballot or application, e.g., Ala.
     Code § 17-11-7; Colo. Rev. Stat. § 31-10-1002(1); Ind. Code 3 § 3-11-10-
     29; Ky. Rev. Stat. § 117.085(7); La. Stat. §§ 18:1306E.(2)(a); Minn. Stat. §
     203B.07(3); Vt. Stat. 17 § 2542(a); see also Liebert, 2024 WL 2078216, at
     *2 (rejecting Materiality Provision challenge to witness requirement);

   x Requirements to sign early-voting certificate, e.g., Tex. Elec. Code §
     86.006(a-2); Fla. Stat. § 101.657(4)(a); Ga. Comp. R. & Regs. § 183-1-


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      14.02(11); 10 ILCS § 5/19A-40, 45; Mass. Gen. Laws ch. 54 § 25B(b)(8),
      (c)(5);

   x Requirements to date mail ballots, see Pa. State Conf. of NAACP, 97 F.4th
     at 125 (reversing injunction against date requirement);

   x Prohibitions on voting for more candidates than there are offices, e.g.,
     Tex. Elec. Code § 65.011; Ariz. Rev. Stat. § 16-611; 15 Del. Code
     § 4972(b)(6); Fla. Stat. § 101.65(3); Pa. Cons. Stat. § 3063(a);

   x Requirements to maintain pollbooks, e.g., Tex. Elec. Code § 63.003; Fla.
     Stat § 101.23; 10 ILCS § 5/17-4; Mass. Gen. Laws § 25B(b)(7); 25 Pa. Cons.
     Stat. § 3050; Va. Code § 24.2-611;

   x Secrecy envelope requirements, Ala. Code § 17-11-9; Fla. Stat. § 101.64;
     Ga. Code § 21-2-384(b); Ky. Rev. Stat. § 117.085(3); Mass. Gen. Laws ch.
     54 § 25(B)(a)(10); N.J. Stat. § 19:63-12; N.M. Stat. § 1-6-8; 26 Okla. Stat. §
     26-14-107(A)(1); 25 Pa. Cons. Stat. § 3146.4; S.C. Code § 7-15-370;

   x Requirements to sign poll lists, e.g., Tex. Elec. Code § 63.003; Ala. Code §
     11-46-50; Ky. Rev. Stat. § 117.076; La. Stat. Ann. § 562.C; Tenn. Code 2-7-
     112(a)(2)(A);

   x Voter assistance forms, e.g., Tex. Elec. Code § 64.0322; Fla. Stat. §
     101.051(4); Ind. Code § 3-11.5-4-13; Ky. Rev. Stat. 117.0863; Md. Code,
     Elec. Law § 9-308; Mass. Gen. Laws ch. 54 § 25B(a)(3), (14); 25 Pa. Cons.
     Stat. § 3058; Tenn. Code § 2-7-116; Va. Code § 24.2-649(A); and

   x Laws requiring the signature of person returning a mail ballot, e.g., Cal.
     Elec. Code § 3011(a)(9); 10 ILCS § 5/19-6; Ind. Code § 3-11-10-24(d).

      In short, Plaintiffs’ and the District Court’s overbroad construction of the

Materiality Provision would “tie state legislatures’ hands in setting voting rules

unrelated to voter eligibility.” Pa. State Conf. of NAACP, 97 F.4th at 134; see

Liebert, 2024 WL 2078216 at *14 (“[A] broader interpretation of the Materiality




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Provision would mean that numerous rules related to vote casting would be

invalid.”).

      The federalism canon forbids this extreme result. Liebert, 2024 WL

2078216, at *16. For the reasons explained above, the Provision contains no

“exceedingly clear language” expanding its reach beyond qualification

determinations and voter registration to this plethora of commonsense state

statutes. Ala. Realtors, 594 U.S. at 764. And the “lack of historical precedent”

for this “broad” reading is a particularly “‘telling ‘indication’ that [it] extends

beyond the [Provision’s] legitimate reach.” NFIB v. OSHA, 595 U.S. 109, 119

(2022). It is not plausible that so many commonplace rules would stand

unchallenged for generations if the Provision outlawed them all nearly 60 years

ago. See West Virginia v. EPA, 597 U.S. 697, 725 (2022) (“[T]he want of assertion

of power by those who presumably would be alert to exercise it, is … significant

in determining whether such power was actually conferred.”). Congress did not

“hide [this] elephant[]” in the Provision’s obscure “mousehole[].” Whitman v.

Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001).

              5.   Constitutional Avoidance Bars Application Of The
                   Materiality Provision To S.B. 1’s Identification
                   Requirements.

      Finally, constitutional avoidance requires reading the Materiality

Provision to cover voter-eligibility determinations in the registration process,


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rather than voting rules generally. Courts must construe statutes to avoid

“serious doubt[s]” about their “constitutionality” when another “plausible”

construction is available. Jennings v. Rodriguez, 583 U.S. 281, 296 (2018).

Intervenor-Appellants’ reading of the Provision is at least plausible, whereas

the District Court’s would render it unconstitutional.

       Under the Fifteenth Amendment, States may not deny or abridge the right

to vote “on account of race, color, or previous condition of servitude.” U.S.

Const. amend. XV, § 1. Congress has the power to “enforce” that prohibition “by

appropriate legislation.” Id. § 2.

       Using this enforcement power, Congress may pass laws “to remedy …

violation[s] of rights” guaranteed by the Fifteenth Amendment and “enact so-

called prophylactic legislation that proscribes facially constitutional conduct, in

order to prevent and deter unconstitutional conduct.” Tennessee v. Lane, 541

U.S. 509, 518 (2004). But Congress lacks power to redefine “the substance” of

the Fifteenth Amendment’s guarantee. City of Boerne v. Flores, 521 U.S. 507, 519

(1997). Thus, there “must be a congruence and proportionality between the

injury to be prevented or remedied and the means adopted to that end.” Id. at

520.    “Strong measures appropriate to address one harm may be an

unwarranted response to another, lesser one.” Id. at 530. To assess congruence

and proportionality, courts look to the “record” compiled by the enacting


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Congress. Id. at 531-32; accord Shelby Cnty. v. Holder, 570 U.S. 529, 553-55

(2013).

      Congress enacted the Materiality Provision using its Fifteenth

Amendment enforcement authority. See United States v. Mississippi, 380 U.S.

128, 138 (1965). Because all agree that S.B. 1’s identification requirements are

constitutional, the Materiality Provision can only be justified as prophylactic

legislation. And when properly limited to voter registration, the Provision is a

reasonably tailored prophylactic measure:         Congress identified Fifteenth

Amendment violations in efforts by state “registrars” to “defeat” black voter

“registration” based on “minor … errors or mistakes” in applications for

registration. H.R. Rep. 88-914, pt. 2, at 2; supra at 4-5. Congress found ample

evidence of unscrupulous officials discriminating during in-person voter

registration, which was common in the 1960s and during which officials could

observe the voter’s race. See id.

      Congress’s chosen remedy—forbidding registrars to deny applications

based on immaterial mistakes—fits the violations it identified. And its invasion

of state prerogatives is minimal. The Provision entirely respects States’ role in

defining voter eligibility. It simply keeps registrars honest by forbidding them

from relying on irrelevant considerations when determining eligibility.




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       Under the District Court’s reading, by contrast, the Provision does far

more than remedy violations of the Fifteenth Amendment. The record reveals

no legislative consideration of discriminatory voting practices beyond the

registration process, such as ballot-casting rules applied by officials with no

knowledge of the voter’s race. See Pa. State Conf. of NAACP, 97 F.4th at 132-33.

Even if it did, extending the Provision beyond registration would be an “absurd”

way to combat discrimination. Ritter, 142 S. Ct. at 1825 (Alito, J., dissental); see

also Pa. State Conf. of NAACP, 97 F.4th at 136 (“[V]ote-casting rules … serve

entirely different purposes than voter-qualification rules.”). States have myriad

legitimate reasons to regulate the electoral process, including the casting of

ballots, besides ensuring eligibility. Supra at 35-36. Thus, it is unsurprising that

Congress neither compiled a record to support, nor enacted, a statute requiring

States to apply ballot-casting rules based only on considerations material to

eligibility.

       Indeed, deeming illegitimate a host of state interests long thought

“necessary” to vindicate, Smiley, 285 U.S. at 366, would represent “an

uncommon exercise of congressional power” that could only “be justified by

‘exceptional conditions,’” Shelby Cnty., 570 U.S. at 545. But Congress’s record

does not attempt to justify that drastic measure. It never suggests, for instance,




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that commonsense state interests in preventing fraud or ensuring timely voting

must be cast aside to advance the statute’s objectives.

      That silence is particularly telling because the House Report responded

to an objection that the Act’s voting provisions exceeded Congress’s

enforcement power. The bill’s advocates replied that “wide-ranging evidence

has been produced before Congress” that “State voter-qualification standards

and procedures have been regularly used by some States to deny people the

right to vote because of their race,” and that “Congress has the authority to

eliminate such denials through legislative means.” H.R. Rep. 88-914, pt. 2, at 6

(emphasis added). The Report did not even hint at any findings implicating

laws beyond qualification determinations during voter registration. See id.

      To be sure, this Court in Vote.Org II concluded that the Materiality

Provision falls within Congress’s enforcement power. 89 F.4th at 487. But see

Stay Order 5-6 (suggesting Provision must be read to prohibit only racially-

discriminatory rules to avoid constitutional problem). But it did so in a voter-

registration case while explicitly declining to decide whether the Provision

applies to “vote counting” rules. Vote.Org II, 89 F.4th at 479 n.7; see infra at 50-

59. Intervenor-Appellants agree that the Provision is constitutional when

construed—in line with its plain text—to reach only voter-qualification




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determinations. Stretched further, the Provision would forfeit its status as a

congruent and proportional prophylactic rule.3

      B.    The District Court’s Reasoning Is Flawed.

      The District Court gave four main reasons for rejecting Intervenor-

Appellants’ textual construction of the Materiality Provision.            All are

unpersuasive.

      1.    The District Court’s primary justification for decoupling the

Provision from voter registration was the statutory definition of “vote,” which

includes “having [one’s] ballot counted and included in the appropriate totals

of votes cast.” 52 U.S.C. § 10101(a)(3)(A), (e); ROA.33216, 33248. As the

District Court saw it, that “broad” definition supplants the contemporaneous

understanding of “the right to vote.” ROA.33248; see supra Part I.A.3. Its work

not yet done, that same “capacious definition” of “vote” also convinced the

District Court that the Provision extends beyond voter-registration rules to all

“other stages of the electoral process.” ROA.33248 (cleaned up).

      This reasoning is multiply flawed. To begin, even if the District Court

were correct about the meaning of “right to vote,” the Provision still applies


3 In any event, because Vote.Org II ultimately held that the challenged state law

fell outside the Provision’s text, its constitutional discussion was nonbinding
“dictum” not “necessary to the result.” United States v. Segura, 747 F.3d 323,
328 (5th Cir. 2014).

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only to paperwork used in the registration process, supra Part I.A.1, and to

determinations of voter eligibility, supra Part I.A.2, neither of which S.B. 1’s

identification rules implicate.

      But the District Court was incorrect about the meaning of “right to

vote”—and even the statutory definition of “vote” it invoked. See supra Part

I.A.3; Pa. State Conf. of NAACP, 97 F.4th at 133-35. After all, the Provision

extends only to state rules that “deny” the “right” to take “all action necessary

to make a vote effective,” not to rules delineating those actions. 52 U.S.C.

§§ 10101(a)(2)(B) (emphasis added), 10101(e).

      Indeed, in 1964, it was well established that the “right to vote” included

“the right to have one’s vote counted.” Reynolds v. Sims, 377 U.S. 533, 554

(1964) (quoting Mosley, 238 U.S. at 386). Thus, the statutory reference to

“having [one’s] ballot counted and included in the appropriate totals of votes

cast,” 52 U.S.C. § 10101(a)(3)(A), (e), invoked by the District Court, ROA.33216,

33248, changes nothing. It merely confirms that the right to have one’s vote

counted abides only so long as the individual complies with applicable ballot-

casting rules for “mak[ing] a vote effective.” 52 U.S.C. § 10101(a)(3)(A), (e); see,

e.g., Mosley, 238 U.S. at 386. Thus, however broad the statutory definition of

“vote,” it remains the case that the “right to vote” does not cover mail voting

and is not “denied” when election officials reject a ballot for noncompliance


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with ballot-casting rules. Supra Part I.A.3; Ritter, 142 S. Ct. at 1825-26 (Alito, J.,

dissental); Pa. State Conf. of NAACP, 97 F.4th at 133-35.

      Moreover, the District Court’s reading is incompatible with the statutory

context. The same definition of “vote” applies to all of § 10101(a), but it is

undisputed that § 10101(a)(2)(A) and (C) apply only to voter-eligibility

determinations during the registration process. See supra Part I.A.1. The

shared definition of “vote” cannot require extending § 10101(a)(2)(B)—but

not   its   immediate     neighbors—beyond         registration-related    eligibility

determinations.     See, e.g., Brown v. Gardner, 513 U.S. 115, 118 (1994)

(explaining “presumption that a given term is used to mean the same thing”

across sections of a statute).

      The District Court’s reading also proves too much: It would prohibit

States from adopting paper-based rules regulating the “other stages of the

electoral process” that are not “material” to determining a voter’s

qualifications. ROA.33248 (cleaned up). But “[t]here is no reason why the

requirements that must be met in order to register (and thus be ‘qualified’) to

vote should be the same as the requirements that must be met in order to cast

a ballot that will be counted.” Ritter, 142 S. Ct. at 1825 (Alito, J., dissental). In

fact, every State in the country has different rules for qualifying to vote and for

casting ballots—a reality the District Court’s construction blinks. As the Third


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Circuit memorably put it, the view adopted by the District Court is akin to

allowing a driver who runs a red light to dodge a ticket by insisting that traffic

rules are irrelevant to determining the validity of his drivers’ license. Pa. State

Conference of NAACP, 97 F.4th at 129-30, 136. “If that sounds confusing, that’s

because it is.” Id. at 136. Just as “those authorized to drive must obey the State’s

traffic laws,” successfully registered voters must still “abide by certain

requirements” to effectuate their votes. Id. at 130.

      2.    The District Court also posited that S.B. 1’s identification

requirements fall within the Provision’s calibrated scope on the theory that a

mail-ballot “application” is an “‘application’ ‘requisite to voting’ for most

individuals who seek to cast a mail ballot” and “preparation of a carrier

envelope is ‘an act requisite to voting’ for individuals who cast a mail ballot.”

ROA.33250. This theory is flawed: The Provision’s plain text aims only at the

voter-registration process and voter-qualification determinations, not at every

paper-based voting rule a State may call an “application” or impose in order to

have a ballot counted. See, e.g., Pa. State Conf. of NAACP, 97 F.4th at 131-35.

      Indeed, mail voting was rare in 1964 when Congress enacted the

Provision, underscoring that Congress did not use “application” or “act

requisite” to refer to requirements connected to that method of voting. See

McDonald, 394 U.S. at 807-08 (noting limited reach of then-existing mail-voting


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systems); Stay Order 5. As this Court recently explained when analyzing the

“right to vote” in the Twenty-Sixth Amendment, “the right to vote in 1971 did

not include a right to vote by mail” because “[i]n-person voting was the rule,

absentee voting the exception.” Tex. Democratic Party v. Abbott, 978 F.3d 168,

188 (5th Cir. 2020). Moreover, properly completing a mail-ballot application,

ballot, or carrier envelope is not “requisite to voting” in Texas because

individuals who fail to do so remain free to vote in person.

      3. The District Court next reasoned that, because the Provision protects

the right to vote “‘in any election’” and “‘in such election,’” it must apply beyond

registration to refusing to count a vote in even “a single election.” ROA.33248-

33249. Again, this proves too much. Subparagraphs (a)(2)(A) and (C) likewise

protect voters “in any election,” but just as surely apply only to qualification

determinations, not ballot-casting rules. And the phrase “such election” in the

Provision simply refers back to “any election.”

      The phrase “such election” further recognizes that States may adopt

different qualifications for different types of elections. See, e.g., Salyer Land Co.

v. Tulare Lake Basin Water Storage Dist., 410 U.S. 719, 734-35 (1973)

(upholding property requirement for local water-district election). The

Provision applies to voter-qualification determinations for “any election”;

permits States to apply their specific qualifications to any “such election”; and


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prohibits disqualification based on paper-based mistakes “immaterial” to

determining the applicable qualifications for any “such election.” 52 U.S.C.

§ 10101(a)(2)(B). The phrase thus in no way implies application beyond voter-

qualification determinations.

      4.    Finally, the District Court relied on thin and unpersuasive judicial

authority. It leaned most heavily on the Third Circuit’s opinion in Migliori—

which already lacked “precedential effect” due to being vacated, County of Los

Angeles. v. Davis, 440 U.S. 625, 634 n.6 (1979)—and the district-court decision

in Pennsylvania State Conference of the NAACP. ROA.33229. But the Third

Circuit has now reversed that district-court decision, renounced Migliori, and

adopted Intervenor-Appellants’ interpretation of the Provision. See Pa. State

Conf. of NAACP, 97 F.4th at 131-39; see also Liebert, 2024 WL 2078216, at *11.

      With Migliori in the dustbin, Plaintiffs can point to precisely zero

appellate cases supporting their reading. Instead, their request for affirmance

necessarily invites this Court to create a circuit split. This Court should reject

that invitation; adopt the reasoning of the Third Circuit, three Justices of the

Supreme Court, and multiple prior panels of this Court; and reverse.




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II.   THE PANEL DECISION IN VOTE.ORG II DOES NOT APPLY BEYOND VOTER
      REGISTRATION, BUT S.B. 1’S IDENTIFICATION REQUIREMENTS SATISFY IT.

      In its recent decision in Vote.Org II, this Court properly upheld Texas’s

wet-signature requirement for voter-registration forms against a Materiality

Provision claim. See 89 F.4th at 490-91. To reach that result, the panel assessed

whether the State’s justification for the requirement was “more than tenuous”

and whether, in the “totality of the circumstances,” the requirement “advances

th[e] [State’s] interest[s] without imposing pointless burdens.” Id. at 485.

      This Court need not, and should not, apply the Vote.Org II framework to

analyze S.B. 1’s identification requirements. After all, Vote.Org II concerned a

voter-registration rule, not a ballot-casting rule. See Id. at 482-85. The Vote.Org

II panel itself acknowledged that extending the Provision to ballot-casting rules

is “possibly overbroad” and was “not involved” in that case. Id. at 479 n.7. As a

case involving “voter registration” only, Pa. State Conf. of NAACP, 97 F.4th at 127

(discussing Vote.Org II), Vote.Org II does not prescribe the analysis for cases

involving ballot-casting rules. It therefore does nothing to change the course

the Court should follow here. See supra Part I.

      In fact, extending Vote.Org II beyond voter registration risks destabilizing

election law. Divorced from its proper context, Vote.Org II would require

federal courts to apply a “tenuousness” and “totality of the circumstances”



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approach to assess the validity of any paper-based state election rule at any

stage of the voting process. 89 F.4th at 483-85. As discussed above, that

approach would improperly grant federal courts superintendence over—and

open the door to jeopardizing—a host of state election rules which are not the

proper subject of federal judicial scrutiny. See supra Part I.A.4; cf. Crawford, 553

U.S. at 208 (Scalia, J., concurring in the judgment) (warning against “detailed

judicial supervision of the election process [that] would flout the Constitution’s

express commitment of the task to the States.”). It would also create a circuit

split on the Materiality Provision’s scope. The Court should avoid this course

and instead reverse for the reasons explained above. See supra Part I.

      Even if the Court were to split from the Third Circuit and extend the

Provision to ballot-casting rules, it still should reverse.        As Vote.Org II

recognized, “[v]oter integrity” is “a substantial interest” that Texas may and

must pursue through its election laws. 89 F.4th at 488; see Richardson v. Hughs,

978 F.3d 220, 239 (5th Cir. 2020) (“Texas indisputably has a compelling

interest in preserving the integrity of its election process.” (cleaned up)). Texas,

moreover, “[o]bviously … has considerable discretion in deciding what is an

adequate level of effectiveness to serve its important interests in voter

integrity” and fraud prevention. Vote.Org II, 89 F.4th at 485. And given Texas’s

“significan[t] … authority to set its [own] electoral rules,” federal courts must


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give “considerable deference [to those] election procedures so long as they do

not constitute invidious discrimination.” Id. at 481.

      S.B. 1’s identification requirements easily satisfy the Vote.Org II

framework for at least three reasons. First, like the voter-registration rule

upheld in Vote.Org II, the identification requirements verify “a premise for all

the statutory qualifications” to vote—whether individuals seeking to vote are

“actually who they say they are.”       Id. at 487.     Such identity verification

necessarily is “material” and valid under the Materiality Provision. See id. at

487-89.

      And that is what S.B. 1’s rules do. They require an individual completing

a vote-by-mail application or ballot to supply a piece of identifying information:

the same nmber the individual used to register to vote. See supra at 10-12.

Department of Public Safety and Social Security numbers are unique to each

person, so individuals who know those numbers quite likely are “actually who

they say they are.” 89 F.4th at 487. Similarly, individuals who know the number

used to register are likely the person who registered. See ROA.22629. And

unlike other information those applying for and casting mail ballots must

provide—like name and address—the identification numbers S.B. 1 requires

are not publicly available to third parties. See, e.g., ROA.22620-22621.




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      The identification number is not only unique, specific, and non-public—

it is the same identification number federal law obligated the voter to provide

during voter registration. See supra at 12. Congress plainly deemed such

information material to assessing voter qualifications because it compelled

States to seek that information in HAVA. See id. at 11. However one defines

“material,” “a law requiring voters to include the same information on mail-in

voting materials that Congress itself asks voters to include on their voter

registration applications” cannot “violate[] the Materiality Provision.” Stay

Order 6; see Browning, 522 F.3d at 1174.

      Second, S.B. 1’s identification rules directly—and far more than

“tenuous[ly]”—advance the State’s “substantial interest[s],” including

promoting “[v]oter integrity,” Vote.Org II, 89 F.4th at 487-88, and “reduc[ing]

the likelihood of fraud,” S.B. 1, § 1.04. By requiring voters to supply unique,

specific, material identifying information to receive a mail ballot and have it

counted, S.B. 1 makes it harder for third-party fraudsters to apply for, receive,

and cast mail ballots in others’ names. See ROA 22628.

      States “may take action” like enacting the identification rules “to prevent

election fraud without waiting for it to occur and be detected within [their] own

borders.” Brnovich, 594 U.S. at . Even so, there have been recent instances of

mail-ballot fraud in Texas. The Texas Legislature knew, for example, that


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Denton County Election Administrator Frank Phillips had detected a mail-ballot

fraud scheme in 2020. ROA.22627-22628, 22634-22635. The identification

rules “reduce the likelihood of fraud,” S.B. 1, § 1.04, and, thus, promote “voter

integrity,” Vote.Org II, 89 F.4th at 488; see Liebert, 2024 WL 2078216, at *17-18

(holding witness requirements are material because they “may help to deter an

unqualified voter from using the absentee-voting process to submit a

fraudulent vote”). Indeed, Mr. Phillips testified that the rules would have made

it more difficult for fraudsters to execute the scheme he detected. ROA.22627-

22628, 22634-22635.

      In fact, S.B. 1’s identification requirements are far more relevant to

advancing “voter integrity” than the wet-signature requirement upheld in

Vote.Org II. 89 F.4th at 488. As the stay panel explained, Texans voting in

person must show identification. Stay Order 6. Both experts and courts have

recognized that mail voting is more vulnerable to fraud than in-person voting.

See Crawford, 553 U.S. at 195-96; Brnovich, 594 U.S. at 685; Veasey, 830 F.3d at

239, 256; Tex. Democratic Party, 961 F.3d at 414 (Ho, J., concurring); Comm’n

on Fed. Election Reform, Building Confidence in U.S. Elections 46 (2005). Texas

therefore acted sensibly by establishing an identification requirement for this

less secure mode of voting. Other States have made the same policy decision.

See, e.g., Ga. Code § 21-2-384(b); Minn. St. § 203B.07, subdiv. 3; Ohio Rev. Code


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§ 3509.04. And even if the question were close, Vote.Org II requires “deference”

to the Legislature’s judgment that the requirements are appropriate to promote

election integrity. 89 F.4th at 481, 485.

      Third, any “burden” S.B. 1’s identification rules impose on voters is

“slight” and far from “pointless”—if it can even be characterized as a “burden”

at all. Id. at 485, 490. All voters must do to comply with the rules is supply one

of two unique numbers—or both—that federal law required them to provide

when they registered to vote and that they ordinarily will have at the ready.

This is a minimal price to pay to further assure the Texas electorate and public

that individuals seeking to cast a mail ballot are “actually who they say they

are.” Vote.Org II, 89 F.4th at 487; see ROA.22631-22632 (election official’s

testimony that S.B. 1 identification requirements have “reduced concerns

among voters about mail voting fraud”).

      The “totality of the circumstances” only underscores this point. Vote.Org

II, 89 F.4th at 489; see also id. at 490 (burden analysis considers “other

available … options” to vote). Texas has taken considerable steps to make it

easier for Texans to comply with S.B. 1’s identification rules. S.B. 1 also

established a new cure process for individuals to correct mistakes on their vote-

by-mail applications and ballots online, by mail, or in person. See supra at 12-

13. Many Texans have taken advantage of that process, including nearly half of


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those who submitted defective ballots in the 2022 general election. See supra

at 12-14. Texas, moreover, has continued to improve the cure process since

S.B. 1; in late 2023, it enacted legislation making it easier to cure online. See Act

of May 29, 2023, 88th Leg. R.S., H.B. 357, § 2. And if all else fails, would-be mail

voters who do not comply with S.B. 1’s identification rules can vote in person.

The identification rules, therefore, are “material” and valid to the extent the

Court concludes that the Materiality Provision applies to them. Vote.Org II, 89

F.4th at 489.

      Accordingly, the District Court’s pre-Vote.Org II invalidation of those

rules cannot survive Vote.Org II. For example, the District Court concluded that

a voter’s identification number cannot be material because, without more, it

cannot establish age, residence, felony status, or any other voter qualification.

ROA.33241. But it is “[u]ndeniable” that an individual’s identity is “a premise

for all the statutory qualifications” to vote and, thus, “material” under the

Provision. Vote.Org II, 89 F.4th at 487 (emphasis added).

      The District Court next reasoned that because election officials “already

[have] discerned the identity of” voters at “voter registration,” the Provision

prohibits them from verifying the identity of individuals applying for and

casting mail ballots. ROA.33245-33246. This makes no sense: the State has an

obvious election-integrity and anti-fraud interest in verifying that individuals


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who seek to vote are “actually who they say they are.” Vote.Org II, 89 F.4th at

487.

       That is why Texas law already required election officials to verify the

identity of individuals who vote in person, see Stay Order 6, and S.B. 1 extends

this mandate to would-be mail voters. The District Court entirely ignored the

very real possibility—which has happened in Texas—that a third-party

fraudster might claim to be someone else during mail voting. See ROA.22632

(testimony highlighting this risk). That the State ascertained a voter’s identity

at voter registration does nothing to assure that the individual applying for or

submitting a mail ballot in the voter’s name actually is the voter. S.B. 1’s

requirement that mail-ballot applicants and submitters supply a piece of

unique, non-public identifying information helps to confirm that fact.

       The District Court also highlighted data limitations, errors, and

discrepancies in TEAM, suggesting that such issues render the identification

rules immaterial under federal law. ROA.33222-33223. Of course, problems

with state databases do not violate the Materiality Provision and are neither

new nor unique. See, e.g., Husted v. A. Philip Randolph Inst., 584 U.S. 756, 760

(2018). The Secretary of State, moreover, has taken substantial steps to

improve the quantity and quality of data in TEAM, including by harvesting




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identification numbers from the Department of Public Safety’s database. See

ROA.22650-22651.

      Finally, the District Court held that, even assuming identity verification is

material to voter qualifications, S.B. 1’s provisions remain immaterial because,

“[a]s a practical matter,” election officials generally do not use the identification

numbers to verify identity or ferret out fraud. ROA.33245; see also ROA.33171-

33172, 33225. But the evidence the District Court cited establishes no such

thing. Instead, it establishes that an identification number is not one of Texas’s

qualifications to vote and that the Travis County Clerk believes he can

“associate” a mail-ballot applicant with a “voter” using information other than

an identification number. ROA.33245; see also ROA.33225. That evidence says

precisely nothing about how election officials use identification numbers in

practice, including in Texas’s 253 other counties. In fact, the evidence before

the District Court demonstrated that Denton County does use the identification

numbers “to confirm the voter’s identity.” ROA.33192 n.25.

      Relying on Plaintiffs’ proposed factual finding, the District Court also

selectively quoted State election official Keith Ingram for the proposition that

“individual eligibility criteria have nothing to do with the [identification]

number[s].”     ROA. 33245.      But as Ingram explained, “the point of the

[identification] number” is identity verification: to confirm “this is the voter


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who is already in your [voter-registration] list as an eligible voter.” Apr. 28,

2022 Ingram Dep. 86:2-87:19 (Ex. A); accord ROA.22593 (same point). The

State explained this when it rebutted Plaintiffs’ proposed factual finding, but

the District Court ignored that explanation. ROA.22452-22453. In all events,

that the identification numbers confirm that would-be mail voters are “actually

who they say they are” establishes that they satisfy the Materiality Provision to

the extent it applies. Vote.Org II, 89 F.4th at 487.

      Furthermore,     the Materiality       Provision does     not countenance

invalidating state voting laws simply because federal courts believe that

election officials have not invoked them with sufficient frequency. That is why

the Vote.Org II panel rejected the same objection that the original wet

signatures at issue there “are, in practice, not used to verify anyone’s identity.”

89 F.4th at 489. The question is not whether, in the judgment of federal courts,

election officials use the challenged law enough, but whether, giving due

“weight to [the] state legislature’s judgment,” the challenged law “meaningfully,

even if quite imperfectly, corresponds to the substantial State interest” in

confirming identity. Id. Establishing identification rules for mail voting—

particularly where identification rules already apply to in-person voting—

clearly satisfies that standard.




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                                 CONCLUSION

     The Court should reverse the District Court’s judgment and render

judgment in Defendants’ favor.




Dated: June 12, 2024                     Respectfully submitted,

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                            COMBINED CERTIFICATIONS

      In accordance with the Federal Rules of Appellate Procedure and the

Local Rules of this Court, I hereby certify the following:

      1.     I am a member in good standing of the Bar of this Court.

      2.     This Brief complies with the type-volume limitations of Fed. R. App.

P. 32(a)(7)(B) because it contains 12,880 words, excluding the parts exempted

by Fed. R. App. P. 32(f).

      3,     This Brief complies with the typeface and type-style requirements

of Fed. R. App. P. 32(a)(5) & (a)(6) because it has been prepared using Microsoft

Word in a proportionally spaced 14-point font (namely, Century Schoolbook

Standard) in the text and the footnotes.

      4.     The text of the electronic Brief is identical to the text in the paper

copies.

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using the most recent version of a commercial virus scanning program, and no

virus was detected.


Dated: June 12, 2024                    /s/ John M. Gore
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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 19, 2024, this brief was electronically filed

with the Clerk of Court using the appellate CM/ECF system. Service on counsel

for all parties in the district court has been accomplished via notice filed

through the district court’s CM/ECF system attaching a copy of this filing.


Dated: June 19, 2024                 /s/ John M. Gore
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